1. The jury were authorized to find that there was a wanton and reckless state of mind which denoted an abandoned and malignant heart and was the equivalent of a specific intention to kill, and which could be treated by the jury as amounting to such intention on the part of the defendant when it produced violence likely to result in death, though not so resulting in this instance. Gallery v. State, 92 Ga. 463
(2) (17 S.E. 863); Code, §§ 26-202, 26-1004. The evidence authorized the conviction of assault with intent to murder.
2. The special assignments of error show no cause for a reversal, and the court did not err in overruling the motion for new trial.
      DECIDED DECEMBER 4, 1946. REHEARING DENIED DECEMBER 19, 1946.
Ralph Payne was indicted for assault with intent to murder and convicted of that offense. The court overruled his motion for a new trial containing the general and six special grounds, and to that judgment he excepted.
The indictment substantially charged: That on April 2, 1945, in Franklin County, Georgia, Ralph Payne feloniously, wantonly and with reckless disregard for human life, drove a Chevrolet coupe automobile on and over that public road and street known as State Route No. 17, and at a certain street intersection in the City of Lavonia, said county, at a speed greater than fifty-five miles per hour, and a rate of speed greater than twenty-five miles per hour within said City of Lavonia, without stopping before entering said intersection, and in violation of the right of way of an automobile driven by M. R. Shirley and occupied by said Shirley, Frank Haley, Elijah Walters, and Kyle Sewell; and "as a result of said unlawful acts . . and the reckless and wanton and unlawful operation of said automobile by the said Payne, the same was driven . . against the automobile of M. R. Shirley . . inflicting on the said Elijah Walters and Frank Haley serious . . wounds, with intent to kill and murder the said Shirley, Haley, Walters, and Sewell."
The collision occurred at about six o'clock p. m. on April 2, 1945, at the intersection of State Route No. 17 with State Route No. 59 in the City of Lavonia, Franklin County, Georgia, said intersection being also a street intersection of Lavonia. The general direction of Route 17 from Toccoa to Lavonia and on to Royston is south-easterly, and the general direction of Route 59 from Carnesville to *Page 647 
Lavonia and on towards the South Carolina line is northeasterly. These roads cross at about right angles in the City of Lavonia. At the time of the collision Ralph Payne was driving a Chevrolet automobile on Route 17 from the direction of Toccoa towards Lavonia, and M. R. Shirley had just entered the intersection and was headed towards Carnesville on Route 59. Hick's drugstore was at the northeast corner of said intersection; at the southeast corner of the intersection, and across Route 19 from Hick's drugstore, was a Gulf filling station; at the southwest corner of said intersection, and across Route 17 from the Gulf station, was Purcell's filling station; and at the northwest corner of said intersection, and across Route 17 from Hick's drugstore, was Cannon's store. At each corner of said intersection was a stop sign.
M. R. Shirley testified in part substantially: That he got a quart of oil at the Gulf station, entered Route 17, and drove his Ford car towards the intersection, stopped at the stop sign and gave a left-turn sign, and had just made his left turn towards Carnesville when the defendant's automobile, traveling between fifty and sixty miles an hour, struck his automobile near the middle of its right side, and knocked it down the highway towards Royston sixty or sixty-five feet; that he didn't think he was moving over five or ten miles an hour when Payne's car struck his; that he could see up the highway towards Toccoa fifty or seventy-five yards from the place where he stopped, but that, when he went a little farther, he could see "up two hundred yards," and that the defendant was traveling so fast that the witness did not see him until he almost hit his car, and "I had my turn developed and there was no way to get out of his way;" and that the collision occurred "on the right-hand side of the lane of the highway 17 going from Toccoa towards Bowersville, and that was the side on which Mr. Payne's car was then traveling from Toccoa to Royston."
J. R. Alewine testified for the State substantially: That he was at the curb by Hick's drugstore when the collision occurred; that he was looking towards Toccoa and could see three or four hundred yards up the road; that the defendant was driving his automobile "at around fifty-five or sixty miles an hour," and did not stop at the stop sign, or make any effort to put on his brakes, and did not blow his horn so far as the witness knew; that "Payne hit Shirley in his right front wheel" near the center of the intersection and *Page 648 
knocked it what witness thought was thirty-five or forty feet; that Payne's car went over a fire plug and hit a tank at Purcell's filling station and "knocked it out of commission;" and that Elijah Walters was knocked unconscious and carried to the hospital.
Joe Brown, a member of the State Patrol, testified for the State substantially: That he arrived at the scene of the collision about thirty minutes after it happened; that the "marks" showed that the Ford automobile was knocked fifty-nine feet; that Payne's car must have been running at a rapid rate of speed because it traveled sixty-four feet after the impact, and it could have been stopped in forty-two or forty-three feet if it had been running sixty miles an hour and had brakes; that Shirley car was struck "on the right front;" that he thought Shirley's car had the right of way, because the defendant admitted that he went by the stop sign at a high rate of speed; that he did not know whether Shirley had stopped, but the "marks" indicated that his car had stopped; that it was a big intersection, and there was a stop sign at each corner; that, if a person comes to a stop and does not see another car coming, he could go ahead, but that he should stop if he sees another car approaching; that the witness rode with the defendant to the hospital and was with him over an hour and he seemed to be normal.
Tom Ed Maxwell testified for the State substantially: That he was at the Gulf station and saw the collision clearly; that it was about sundown; that "Shirley came straight out from the filling station into the intersection" and "was in the intersection when he was struck;" that Payne's car came from Toccoa "making about fifty-five or sixty miles an hour," and he never stopped at all; that he did not apply his brakes or blow his horn before the collision; that he hit Shirley's car in its right side near the middle in about the middle of the intersection; that the defendant was driving the Chevrolet automobile, and knocked Shirley's car, "say thirty or forty yards, maybe a little further;" that Elijah Walters, Kyle Sewell, and Frank Haley were in the automobile with Shirley, and Walters was knocked out of the car on the pavement and hurt; that Shirley "came right out from the station on the Bowersville road and he hit the Carnesville road," and "rode out into the intersection and hadn't got out of low gear;" that Payne was going about fifty-five or sixty miles an hour, and Shirley's car was just moving; that Shirley was "in the intersection of both roads — right in the *Page 649 
middle of the road;" that the defendant "wasn't as drunk as I have seen them, but he smelled of whisky;" that the defendant staggered when he walked but was hurt; that despite the fact that both the defendant and Shirley drove past a stop sign without stopping, Shirley "moved slowly out in the road . . in low gear," and the defendant was running too fast and Shirley had the right of way.
Dwight Adams testified for the State: That he was a policeman in Lavonia and arrived at the scene of the collision five or ten minutes after it occurred; that he helped Trooper Brown make his measurements, and Shirley's car was knocked sixty or sixty-five feet "in a reverse direction;" that the defendant was charged with "reckless driving" and gave bond; that the defendant had the odor of some intoxicant on him, but appeared to be normal except that he was excited like most people would be after a collision.
Dr. S. D. Brown testified for the State substantially: That he took several stitches in the defendant's lip two or three hours after the collision; that he put a notation in his record after the operation that the defendant was "intoxicated;" that there was "a court case against him;" that he wasn't drunk, but that it was evident that he had something to drink; that he had known the defendant for a year or a year and a half and "never knew of his being under the influence of intoxicants before that time;" that just before operating on the defendant the witness had treated Elijah Walters at the witness's hospital, and Walters' collar bone was fractured, his head was violently injured, and he was unconscious and remained in the hospital for eleven days "mentally completely out." There was also abundant evidence that Elijah Walters was in good health before the collision, but that he lost his mind shortly thereafter and was committed to the State hospital at Milledgeville as a lunatic. The State also introduced in evidence a certified copy of an ordinance of the City of Lavonia, prohibiting the driving of a motor vehicle within the corporate limits of Lavonia "at a rate of speed greater than 30 miles per hour."
Shelton Royston testified for the defendant: That he had talked to the defendant shortly after the collision and did not smell whisky on him, and that he talked and walked normally; and that Payne's car was "damaged on the left side up towards the front." Johnnie Pool testified in part for the defendant: That he was close to the defendant at about the time of the collision, did not smell any *Page 650 
whisky on him, and would say that he wasn't drinking; and that the front, left side of Payne's car was mashed in. Pat McCollum testified for the defendant: That he saw the defendant after the defendant had gone to the hospital and come back to Lavonia, and did not smell any liquor on him and would say that he wasn't drinking.
Howard Kressler testified for the defendant: That he was service manager of a motor company at Toccoa and saw the defendant's automobile after the wreck; that the repair job cost $396; that Samuel Brown and Sidney Higgins rerepaired the body of the car; that the damage was "more on the left side than it was near the head; that the radiator, grill and left front side were repaired.
Sidney Higgins testified for the defendant: That the repairs on the defendant's car "were all on the left-hand side, over to the front on the left-hand side;" and that he did not think that the damage could have been caused "by swerving to the left and running against something."
Samuel Brown testified for the defendant substantially: That the damage was on the left side of defendant's car — that the left front fender was torn off, the frame was bent, and the left wheel was driven under the car; and that the damage indicated that "it hit some object from the front."
Morris Kelly testified for the defendant substantially: That the defendant lived at his house in Royston and came there at about ten or eleven o'clock on the night of the collision, and that he was not under the influence of whisky, but that if the collision occurred at six o'clock on that afternoon, he supposed that a man could sober up in three or four hours. Mrs. Stella Kelly, the wife of Morris Kelly, likewise saw the defendant when he came to her home, and "would say that he wasn't drinking, and hadn't been."
Mrs. Fannie Ginn testified substantially: That the defendant married her daughter; that he came to her house on the morning of the wreck and left at about five o'clock on the same afternoon to get his sick baby some medicine and milk; and that he wasn't under the influence of whisky.
John Royston testified substantially: That he saw the defendant at about eight o'clock on the night of the wreck and rode with him in a taxi, and that he wasn't under the influence of whisky at that time. Fred Payne, a brother of the defendant, testified in part: *Page 651 
That he saw Ralph Payne at about twelve o'clock after the collision, smelled nothing on him, and he was not under the influence of liquor; that he "couldn't get any sense out of him," and he appeared to be unconscious, and that he had two teeth knocked out and the witness pulled his mouth open and looked at his teeth and was close enough to tell if he had had any intoxicants.
The defendant stated to the jury substantially: That some medicine had been broken in his pocket, and he had hair tonic on his hair, and that he never drank and wasn't drinking that night; that "I used my brakes and blew my horn, and when I was in fifty-nine and started across, he pulled out from the filling station and pulled into my left side and hit me; that "I did slow up and blow my horn and used my brakes when I seen he was coming out and seen he was going to hit me;" and that the medicine burst in his pocket and the hair tonic had the odor of alcohol and he would swear that he wasn't drinking.
1. We are satisfied that the jury were warranted in concluding from the evidence that the defendant, while under the influence of some intoxicant, drove his automobile over a public highway of this State at a rate of speed greater than fifty-five miles per hour, in violation of the speed law of Georgia, and over a street in the City of Lavonia in violation of the ordinance of that city prohibiting the driving of motor vehicles at a rate of speed greater than thirty miles per hour, past a stop sign and into a broad street intersection in a business part of said City of Lavonia, without blowing his horn, or putting on his brakes or slowing down or stopping before entering said intersection; and that he ran into the right side of an automobile driven by M. R. Shirley at a time when said intersection was clearly visible to the defendant, and hurled Shirley's car fifty-nine feet down the highway which the defendant was traveling, and injured one of the occupants of Shirley's car slightly and another occupant of said car so seriously that he was practically unconscious for eleven days and completely lost his mind.
We think that the facts of this case bring it well within the following rule: "The presumption of malice may arise from a reckless disregard of human life; and `there are wanton or reckless states of *Page 652 
mind which are sometimes the equivalent of a specific intent to kill, and which may and should be treated by the jury as amounting to such intention when productive of violence likely to result in the destruction of life, though not so resulting in the given instance. Gallery v. State, 92 Ga. 464 (2) (17 S.E. 863).'" Dennard v. State, 14 Ga. App. 485, 488
(81 S.E. 378). The facts in the Dennard case disclose that the defendant, approaching the person assaulted from the rear, turned and struck said person when he was a few feet from the road and seriously injured him. In that case the court stated that the indictment charged the defendant with assault with intent to murder, "in that he ran an automobile . . over one W. H. Morgan on a public road, with intent to kill," and that the motion for a new trial based solely on the statutory grounds was overruled. On page 488 of that decision the court also said: "This is a very peculiar case. It is not shown that the defendant had any ill feeling for the man alleged to have been assaulted; no reason appears why he should have wished to run the man down on a public highway; there is no evidence that the machine became unmanageable or skidded, and no explanation of his conduct is apparent unless it was actuated by a reckless disregard of human life."
In Chambliss v. State, 37 Ga. App. 124 (139 S.E. 80), the court quotes from the Dennard case, supra, as follows: "`A reckless disregard of human life may be the equivalent of a specific intent to kill; and whether it existed in this case was a question for the jury.' And in the opinion in that case (p. 488) it is said: `The presumption of malice may arise from a reckless disregard of human life;' and `there are wanton or reckless states of mind which are sometimes times the equivalent of a specific intent to kill, and which may and should be treated by the jury as amounting to such intention when productive of violence likely to result in the destruction of life, though not so resulting in the given instance.'" And in the Chambliss case the court in its concluding paragraph stated: "There was ample evidence to authorize the jury to find that the defendant, while under the influence of intoxicating liquor, was driving his car at an unlawful rate of speed, in a reckless manner, and with utter disregard of the lives and safety of others. It supports the verdict rendered." In Myrick v. State, 199 Ga. 244, 248
(34 S.E.2d 36), Gallery v. State, supra, Dennard v.State, supra, and Chambliss v. State, supra, are cited with approval. In this connection, *Page 653 
see Powell v. State, 193 Ga. 398 (18 S.E.2d 678).Huntsinger v. State, 200 Ga. 127 (36 S.E.2d 92), andSmith v. State, 200 Ga. 188 (36 S.E.2d 350), cited by the defendant, distinguish the line of cases where the defendant was running at a reckless rate of speed in an intoxicated condition, and the case then under consideration in which the defendant was not in an intoxicated condition.
The instant case comes within the rule stated under that line of cases where the defendant was in an intoxicated condition. The jury here was authorized to find the defendant guilty of assault with intent to murder.
2. The judge charged the jury as follows: ("The offense charged in the indictment is that of assault with intent to murder. Murder is the unlawful killing of a human being, in the peace of the state, by a person of sound memory and discretion, with malice aforethought, either express or implied. An assault with intent to murder is an assault with a weapon, as it is used at the time, is likely to kill, and an assault without justification or mitigation, and an assault under such circumstances that, if death had resulted, it would have been murder, also with the intent and purpose on the part of the assailant at the time of the assault to kill and murder the person assaulted.")
["The specific intent to kill is an essential ingredient of the offense of assault with intent to murder. The law does not impute the intention to kill where death does not ensue.
"Intent is a question for the jury and is ordinarily ascertained by acts and conduct, and the law presumes every unlawful act to have been criminally intended unless the contrary appears. Intent, gentlemen, may be shown in many ways, provided the jury find it existed from the evidence produced before them. It may be inferred from the proven circumstances or by acts and conduct, or presumed when it is a natural and necessary consequence of the act.
"Gentlemen, there are wanton and reckless states of mind which are sometimes equivalent to a specific intent to kill, and which may, and should be, treated by the jury as amounting to such intention when such violations of law are likely to produce death."]
"I want to read to you now the definition of a crime in this State and I am reading from the Code of the State of Georgia. Here is the definition of a crime: A crime or misdemeanor shall *Page 654 
consist in a violation of a public law in the commission of which there shall be a union or joint operation of act and intention, or criminal negligence."
In special ground 1, the defendant excepts to the part of the charge above quoted enclosed in brackets. The principal assignment of error in his special ground 1 is that the court "instructed the jury in said charge that intent was presumed when it is a natural and necessary consequence of the act," in violation of the well-known rule laid down in Gilbert v.State, 90 Ga. 691, 692 (1) (16 S.E. 652), that the existence of an intent to kill in a case of assault with intent to murder "is matter of fact to be ascertained by the jury from all the evidence before them, and not matter for legal inference or presumption from only a part of the evidence, or even from the whole of it."
In view of the explicit statement contained in this excerpt enclosed in brackets, that "the law does not impute the intention to kill where death does not ensue," and the further instruction that "intent is a question for the jury," and considering the charge as a whole, the objection urged is not ground for a new trial.
Neither do we think that there is any merit in subsection (b) of special ground 1, which alleges that the charge was "misleading and confusing to the minds of the jury, because said charge mixed and mingled the law of murder with that of assault with intent to murder on the issue of intent."
In subsection (c) of the above ground, it is insisted that "said charge wherein the court instructed the jury that the law presumes every unlawful act to have been criminally intended unless the contrary appears was incorrect," and eliminated the defendant's contention "that the injury was unintentional on his part." The court charged the defendant's main defense fully and fairly, and there was no request for any additional charge, and the charge was not erroneous for the reason above stated or for any other reason set out in subsection (c) of special ground 1.
Subsection (d) of this special ground is essentially the same as that contained in the first subsection of that ground, and there is no merit in that objection.
3. The principal criticism made in special ground 2 to the part of the above-quoted charge enclosed in parentheses is that "the court failed to instruct the jury that such intent to kill would have *Page 655 
to be done with malice, either express or implied." It is also insisted that the above charge eliminated the contention of the defendant that the injuries inflicted were unintentional and done wholly without malice. The charge as a whole was sufficient to convey the meaning and application of the principles of law which these objections urged were eliminated. This special ground shows no cause for reversible error.
4. In special ground 3, the exception is that the charge "excluded from the minds of the jury all proven facts established by the defendant's witnesses." This ground is not meritorious.
5. In special ground 4, exception was taken to the failure of the court to charge accidental homicide known as Code, § 26-404. No request was made for such an instruction.
The failure of the judge in an assault with intent to murder case to charge the jury the provisions of this Code section — "A person shall not be found guilty of any crime or misdemeanor committed by misfortune or accident, and where it satisfactorily appears there was no evil design, or intention, or culpable neglect" — in express terms, when it clearly appears from the charge that the jury were informed that, if they found the contentions of the accused which were stated with reference to the concrete to be true, they must return a verdict of not guilty, will not be reason for granting a new trial. Nix v.State, 120 Ga. 162 (47 S.E. 516); Gilstrap v. State,72 Ga. App. 172 (2) (33 S.E.2d 525); Martin v. State,57 Ga. App. 346 (195 S.E. 313); Cox v. State, 105 Ga. 610
(31 S.E. 650).
The defendant contends here that his negligence, if any, was not the proximate cause of the collision, but that the negligence of the driver of the other automobile involved in the collision, in driving his car into the intersection of the streets in question, was the sole proximate cause of the collision, but did not request a charge on accident. Travelers Ins. Co. v.Anderson, 53 Ga. App. 1 (184 S.E. 813); Webb v. State,149 Ga. 211 (8) (99 S.E. 630); Savannah Electric Co. v.Jackson, 132 Ga. 559, 563 (64 S.E. 680); Mangum v.State, 5 Ga. App. 445 (2) (63 S.E. 543).
The instant case is differentiated from that of Smith v.State, 200 Ga. 188 (supra), in that there the language of the charge, when considered as a whole, was not sufficient to convey the meaning and application of the Code, § 26-404, whereas in the instant case the *Page 656 
charge as a whole was sufficient to convey the meaning and application of the principles of such Code section.
6. In special ground 5, error is alleged because the court allowed Tom Ed Maxwell to testify that in his opinion Shirley had the right of way at the intersection. The witness stated the facts on which he based his conclusion. Even if it was erroneous to admit such evidence, it is also true that State Trooper Joe Brown testified that he thought Shirley's automobile had the right of way, and the record shows no objection to Brown's testimony. We hold that the ground is not meritorious.
7. There is no merit in the contention in special ground 6 that the court erred in failing to charge the law of involuntary manslaughter in the commission of a lawful act in an unlawful manner. The court charged the law of assault and battery, the lesser offense, as well as the law of assault with intent to murder.
Judgment affirmed. Broyles, C. J., and Gardner, J., concur.
                        ON MOTION FOR REHEARING.